Case 1:20-cr-00301-PKC Document 81

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE

 

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UNITED STATES OF AMERICA,
-against-
VICTOR RODRIGUEZ
Defendants.
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CASTEL, U.S.D.J.:

Filed 11/04/20 Page 1of1

20-cr-301(PKC)

ORDER

Defendant Victor Rodriguez seeks the issuance of nine subpoenas duces tecum

“as part of the Defendant’s Mitigation investigation.” (Ex Parte Letter of October 26, 2020.)

The application is denied without prejudice to a showing that the proposed Rule 17 subpoenas

may properly be issued for investigative purposes or to obtain mitigation evidence of the type

sought in the subpoenas.

SO ORDERED.

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Dated: New York, New York
November 4, 2020

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P. Kevin Castel
United States District Judge

 
